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14                                 UNITED STATES DISTRICT COURT

15                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

16                                      SAN FRANCISCO DIVISION

17    AMERICAN FEDERATION OF                               Case No. 3:25-cv-01780-WHA
18    GOVERNMENT EMPLOYEES, AFL-CIO;
      AMERICAN FEDERATION OF STATE                         PLAINTIFFS’ EX PARTE MOTION TO
19    COUNTY AND MUNICIPAL EMPLOYEES,                      STRIKE DEFENDANTS’ DECLARATION
      AFL-CIO, et al.,                                     OF NOAH PETERS
20
               Plaintiffs,
21
          v.
22

23    UNITED STATES OFFICE OF PERSONNEL
      MANAGEMENT, et al.,
24
               Defendants.
25

26
27

28
     Plaintiffs’ Ex Parte Motion to Strike Defs’ Declaration of Noah Peters, No. 3:25-cv-01780-WHA
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 1          Plaintiffs respectfully request that the Court strike a fact declaration from a witness who

 2   Defendants are not making available for cross examination, whose declaration Defendants now

 3   appear to be attempting to substitute for the now withdrawn Declaration of Charles Ezell.

 4          On Monday, March 11, 2025, Defendants submitted to the Court, in support of the Ex Parte

 5   Motion to Vacate the upcoming preliminary injunction hearing and quash subpoenas for all

 6   government employee witnesses, a declaration from a “Senior Advisor” to the OPM Director

 7   named Noah Peters that purports to offer factual evidence supporting Defendants’ case. Dkt. 77.

 8   Plaintiffs had not subpoenaed this person, nor had Defendants relied previously on this witness in

 9   opposing Plaintiffs’ Motion for TRO or Preliminary Injunction. The Declaration includes no

10   attestation of personal knowledge or foundation for the statements fact in the Declaration. Id.

11          As the Court is aware, the U.S. government has refused to produce any government

12   witnesses at the upcoming hearing, and has affirmatively withdrawn the Declaration of Acting

13   OPM Director Charles Ezell rather than put him forward for cross-examination as ordered by the

14   Court. Dkt. 97. In an abundance of caution, lest Defendants intend to rely on this Declaration for

15   purposes beyond the now-resolved Ex Parte Motion, Plaintiffs reached out to confirm that

16   Defendants will withdraw this Declaration, as they had never previously identified Mr. Peters’

17   testimony in support of Defendants’ position on the TRO or preliminary injunction and are not

18   making Mr. Peters available for cross-examination. Leyton Decl. Ex. A. Defendants refused. Id.

19   Plaintiffs therefore respectfully request that the Court strike the Declaration of Noah Peters, for

20   several reasons, most centrally that Defendants are not making Mr. Peters (or any witness)

21   available for cross-examination and therefore cannot rely on this untested declaratory testimony.

22          First and foremost, this Court has repeatedly made clear that Defendants may not rely on

23   evidence submitted in the form of declarations without making the relevant declarants available for

24   cross-examination—particularly with respect to highly disputed factual issues. See Dkt. 44 at 69

25   (Feb. 27, 2025 TRO Hearing Transcript); Dkt. 65 at 6 (March 6, 2025 Status Conference

26   Transcript: “It is highly unusual for any party in litigation to try to…get their say [without] cross-
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 1   examination. One possibility would be that…his declaration would be struck if he refuses to be

 2   examined under oath by the other side”); Dkt. 89 at 1-2 (March 10, 2025 Order).

 3          As this Court’s March 10, 2025 order recognized, any government witness who submits

 4   evidence under penalty of perjury is subject to “follow-up questioning on facts [the government]

 5   itself put in evidence,” whether the witness is a government official or not. In re Cheney, 544 F.3d

 6   311, 314 (D.C. Cir. 2008); see also Dkt. 89 at 2 (“The problem here is that Acting Director Ezell

 7   submitted a sworn declaration in support of defendants’ position, but now refuses to appear to be

 8   cross examined, or to be deposed (despite, it should be added, government counsel’s embrace of

 9   that very idea during the TRO hearing).”). On this basis, the Court warned that it would “strike or

10   limit” the declaration testimony of Acting OPM Director Charles Ezell if Mr. Ezell did not make

11   himself available for the March 13 hearing. Dkt. 89 at 2. The Peters Declaration should be

12   stricken for the same reason. Defendants are refusing to produce any government witnesses,

13   including Mr. Peters, and cannot rely on his untested declaration. Dkt. 97; Leyton Decl. Ex. A.

14          In addition, the U.S. government did not submit Peters’ Declaration to oppose the TRO, nor

15   in opposition to a preliminary injunction. As plainly set forth in its own caption, the Peters

16   Declaration was submitted solely to support Defendants’ Ex Parte Motion to Vacate the March 13,

17   2025 hearing. That motion has been denied. Under normal circumstances, that would be sufficient

18   to disregard the Peters Declaration. But the subject matter and timing of that Declaration, along

19   with Defendants’ counsel’s communications about this matter, create the impression that

20   Defendants may be now, at the last minute, attempting to substitute the testimony of a different

21   witness for that of Mr. Ezell, and intend to further rely on that testimony in this case, whether

22   before this Court or on appeal. Leyton Decl. Ex. A. That is inappropriate and highly prejudicial.

23   Therefore, Plaintiffs take this unusual step of asking for crystal clear clarification of the record by

24   striking that Declaration now.

25          Finally, further adding to the impropriety of any further reliance on this untested testimony,

26   in his declaration, Mr. Peters asserts numerous facts about OPM and agency actions with respect to
27   probationary employees without attesting to or identifying any basis for his knowledge of those

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 1   asserted facts—personal knowledge or otherwise. Dkt. 77. This too adds to Plaintiffs’ concerns

 2   regarding Defendants’ attempts to include this testimony in the record in this case.

 3                                                 CONCLUSION

 4          For the foregoing reasons, Plaintiffs respectfully request this Court strike the Declaration of

 5   Noah Peters from the record.

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 7

 8                                                 Respectfully submitted,

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     Plaintiffs’ Ex Parte Motion to Strike Defs’ Declaration of Noah Peters, No. 3:25-cv-01780-WHA
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